                                                                                 Case 4:02-cv-05849-PJH Document 738 Filed 08/16/13 Page 1 of 1



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                                                                                                          UNITED STATES DISTRICT COURT
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                                                                                                         NORTHERN DISTRICT OF CALIFORNIA
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                                                                         8    FRANCIE MOELLER, et al.,
                                                                         9                 Plaintiffs,                        No. C 02-5849 PJH
                                                                         10         v.                                        ORDER VACATING HEARING DATE
United States District Court




                                                                         11   TACO BELL CORP.,
                               For the Northern District of California




                                                                         12              Defendant.
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                                                                         14         The date noticed for plaintiffs’ motion for interim attorney’s fees – October 16, 2013
                                                                         15   – is unavailable, and the date is hereby VACATED. Moreover, the court does not ordinarily
                                                                         16   hear argument on motions for attorney’s fees; in this case, no hearing will be scheduled
                                                                         17   unless the court determines, after reviewing the papers, that one is necessary.
                                                                         18         With regard to the date for the case management conference, the parties may
                                                                         19   stipulate to a date on any Thursday in September, October, or November, 2013, with the
                                                                         20   exception of October 3, 10, or 24, but no later than November 21, 2013.
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                                                                         22   IT IS SO ORDERED.
                                                                         23   Dated: August 16, 2013
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                                                                         24                                                   PHYLLIS J. HAMILTON
                                                                                                                              United States District Judge
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